                 IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF NEW YORK

LINDA FAIRSTEIN,                   )
                                   )
           Plaintiff,              )
                                   )   Case No. 20-cv-8042 (PKC)
     v.                            )
                                   )
NETFLIX, INC., AVA DUVERNAY, and   )
ATTICA LOCKE,                      )
                                   )
           Defendants.             )
                                   )




 MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF LINDA FAIRSTEIN’S
 MOTION FOR SANCTIONS RELATING TO THE SPOLIATION OF EVIDENCE




                                         Kara L. Gorycki
                                         Andrew T. Miltenberg
                                         NESENOFF & MILTENBERG, LLP
                                         363 Seventh Avenue, 5th Floor
                                         New York, New York 10001
                                         (212)736-4500
                                         kgorycki@nmllplaw.com
                                         amiltenberg@nmllplaw.com

                                         Attorneys for Plaintiff Linda Fairstein
                                        INTRODUCTION
       Plaintiff Linda Fairstein (“Plaintiff” or “Ms. Fairstein”) respectfully submits this

memorandum of law in support of her motion for sanctions against Defendant Ava DuVernay

(“Ms. DuVernay”), due to Ms. DuVernay’s destruction of books that she claims to have

substantially relied upon as part of her research for the Netflix limited series When They See Us

(the “Series”), including for purposes of her portrayal of Ms. Fairstein in the Series.

       Despite having the opportunity to disclose her spoliation of evidence during fact discovery

in this action—including in response to Plaintiff’s document requests and interrogatories which

directly sought documents and information concerning her research—Ms. DuVernay waited until

Defendants filed their summary judgment motion, on September 30, 2022, to disclose in her

declaration in support thereof that she “did not keep” the books that she purportedly relied upon

in researching Ms. Fairstein for the Series. She provided no further details as to when, how or why

the books were destroyed.

       Consequently, Plaintiff seeks sanctions against Ms. DuVernay. More specifically, Plaintiff

seeks i) the imposition of an adverse inference against Ms. DuVernay that the books Ms. DuVernay

destroyed contained markings or notations which evidenced actual malice and ii) a finding that

Ms. DuVernay’s selective destruction of her books is evidence of actual malice in itself. An

adverse inference for spoliation may be imposed at the summary judgment stage of an action.

Balestriere PLLC v. CMA Trading, Inc., 2014 WL 929813, at * 4 (S.D.N.Y. Mar. 7, 2014).

       The factors for drawing an adverse inference against Ms. DuVernay are readily met

because: i) she was on notice of potential litigation and directed to preserve evidence in June 2016;

ii) she had a culpable state of mind because her destruction of the books was admittedly intentional;

and iii) Ms. DuVernay’s copies of the books she claims to have relied upon when writing the Series

are relevant to the issue of actual malice because they potentially contained markings and notations

                                                  1
which spoke to Ms. DuVernay’s state of mind with respect to her portrayal of Ms. Fairstein in the

Series.

          Apart from finding that an adverse inference is warranted, the Court may also find—when

evaluating Defendants’ summary judgment motion—that Ms. DuVernay’s selective destruction of

her books is, itself, evidence of actual malice. Brown & Williamson Tobacco Corp. v. Jacobson,

827 F.2d 1119, 1134 (7th Cir. 1987).

          In their pre-motion letter, Defendants argue that Ms. Fairstein should be denied the relief

she is seeking herein because she purportedly delayed in filing a pre-motion letter with the Court.

As fully detailed below, Ms. Fairstein addressed Ms. DuVernay’s spoliation of evidence in her

response to Defendants’ Rule 56 Statement, in which she expressly reserved the right to seek

sanctions against Ms. DuVernay. Ms. Fairstein’s pre-motion letter was submitted shortly after

filing her summary judgment opposition papers, opposition to Defendants’ sealing motion and the

motion to strike the Welsh Declaration. Defendants can claim no prejudice because they were on

notice that this motion would be forthcoming, summary judgment briefing is ongoing and the

Court modified the briefing schedule for this motion to align with Defendants’ schedule.

          For the reasons set forth below, Plaintiff’s motion for sanctions against Ms. DuVernay

should be granted.

                            RELEVANT FACTUAL BACKGROUND

I.   Procedural Background
          On September 30, 2022, Defendants filed a motion for summary judgment (ECF No. 146-

159). The filing consisted of a 50-page memorandum of law, five (5) declarations and a Statement

of Undisputed facts containing 235 Paragraphs, many of which have multiple subparts and all of

which purport to state more than one “fact” per paragraph, in violation of Local Rule 56.1.



                                                   2
       At the time that that Defendants filed their motion, the parties were in the process of taking

expert depositions, which concluded on October 12, 2022. Declaration of Kara L. Gorycki, dated

January 5, 2023 (“Gorycki Decl.”), ¶ 3. On November 2, 2022, Defendants’ counsel sent a letter

to Plaintiff’s counsel regarding Defendants’ confidentiality designations. ECF No. 172-1. On

November 16, 2022, Plaintiff’s counsel responded to the November 2nd letter and, pursuant to the

Protective Order, provided Defendants with a list of Confidential documents that Plaintiff intended

to submit in support of her opposition to Defendants’ summary judgment motion. ECF No. 172-

2; ECF No. 105.

       On November 17, 2022, Plaintiff filed a pre-motion letter regarding her motion to strike

the Declaration of Berry Welsh. ECF No. 160. Defendants responded on November 23, 2022. ECF

No. 161.

       On November 23, 2022, Defendants filed a motion to file confidential information under

seal. ECF Nos. 162-176.

       On November 30, 2022, Plaintiff filed her opposition to Defendants’ summary judgment

motion (ECF Nos. 178-185), consisting of a 50-page memorandum of law, a 195-page response to

Defendants’ Rule 56 Statement, two declarations and 267 exhibits. Plaintiff’s Response to

Paragraph 64(a) of Defendants’ Rule 56 Statement expressly states:

       Ms. DuVernay destroyed, or, as she says, ‘did not keep’ her books. DuVernay Decl.
       ¶ 29 n. 7. Plaintiff reserves her right to seek an adverse inference or other relief
       with respect to Ms. DuVernay’s spoliation of evidence since she was on notice of
       potential litigation since June 2016. DX-64. West v. Goodyear Tire & Rubber Co.,
       167 F. 3d 776, 779 (2d Cir. 1999).

ECF No. 184, at p. 37.

       Pursuant to the Court’s Memo Endorsement (ECF No. 177), on December 6, 2022, Plaintiff

filed a motion to strike the Welsh Declaration. ECF Nos. 186-188. On December 7, 2022, Plaintiff



                                                 3
filed a response to Defendants’ Motion to file Confidential Information Under Seal. ECF Nos.

189-192.

       On December 14, 2022, Plaintiff submitted a pre-motion letter to the Court concerning the

present motion. ECF No. 193. On December 20, 2022, Defendants filed a response. ECF No. 194.

On December 21, 2022, the Court permitted Plaintiff to file this motion without prejudice to

Defendants’ argument that the motion is untimely. ECF No. 194.

       At the time of this briefing, Defendants’ summary judgment motion is pending and

Defendants’ reply brief is due on January 16, 2023.

II.    The DuVernay Declaration

       Ms. DuVernay submitted a declaration in support of Defendants’ summary judgment

motion (ECF No. 149), which attempts to support Ms. DuVernay’s argument that she did not act

with actual malice with respect to her portrayal of Ms. Fairstein in the Series. The declaration

outlines the various research materials that Ms. DuVernay purportedly relied on when writing the

Series. See id. In the declaration, Ms. DuVernay extensively cites several books which she claims

that she relied on when writing the Series. See DuVernay Decl. (ECF No. 149), ¶¶ 29-30, 49, 51,

67-70, 74, 84-85, 90, 97-99, 106, 108-109, 113, 115, 120, 123, 128. However, in a footnote, Ms.

DuVernay discloses—for the first time in this action—that she “did not keep copies of the books”

that comprised this critical research. DuVernay Decl. ¶ 29 & n. 7. She provides no details about

how, when or why she destroyed the books. Id.

       Ms. DuVernay’s objections and responses to Plaintiff’s document requests concerning Ms.

DuVernay’s research for the Fairstein character do not state that Ms. DuVernay’s books were

destroyed. Gorycki Decl., Ex. 1, DuVernay Obj. & Resp. to Pltf. First Req. for Documents, Req.

Nos. 30, 39, 42-43, 45, 54. Nor did Ms. DuVernay disclose this in her interrogatory responses.



                                                4
Gorycki Decl., Ex. 2, DuVernay Supp. Obj. & Resp. to Pltf. Second Irogs.; Ex. 3, DuVernay Obj.

& Resp. to Pltf. Second Irogs.

       Apparently lacking her own source materials, Ms. DuVernay’s declaration relies on copies

of the books that were produced by Robin Swicord (“Ms. Swicord”) and contain Ms. Swicord’s

unique, handwritten notes. DuVernay Decl. ¶ 29 & n 7; ECF No. 155-1, Index to Master Appendix,

Exhibits 17 and 27; ECF Nos. 155-18, 155-31. Ms. Swicord is not a party to the action. She co-

wrote Episode 1 of the Series with Ms. DuVernay. DuVernay Decl. ¶¶ 26-27. Ms. Swicord also

submitted a declaration in support of Defendants’ summary judgment motion. ECF No. 151.

III.   Ms. DuVernay Had Notice of Potential Litigation Since June 2016

       In June 2016, Ms. Fairstein’s attorney notified Ms. DuVernay of potential future litigation

concerning the portrayal of Ms. Fairstein in Ms. DuVernay’s upcoming Central Park Five film

project and Ms. DuVernay’s obligation to “take all steps necessary to retain and preserve all

records and communications, whether in hard-copy or electronic form, that ha[d] already come

into [her] possession relating to this project, and that [came] into [her] possession at any point

going forward.” ECF No. 182-74 (PX-52); DuVernay Decl. ¶ 22. In July 2016, Ms. DuVernay—

through counsel—reserved all rights and remedies against Ms. Fairstein. ECF No. 155-82 (DX-

64), at LF00038633.

       On March 3, 2020, Ms. DuVernay received a pre-suit notice which demanded that she

“preserve all evidence within [her] possession, custody and control relating to Ms. Fairstein and

When They See Us.” Compl., Ex. 2, 3/2/20 (ECF No. 1-3), Ltr. from E. Cheffy and A. Miltenberg

to A. DuVernay, at p. 9. The notice further advised that “any alteration, loss, spoliation, or

destruction of” evidence “may subject you to sanctions in any ensuing legal proceeding.” Id.

       The action was filed on March 18, 2020.



                                                 5
                                                ARGUMENT
I.      Ms. DuVernay Should Be Sanctioned

        “Spoliation is the destruction…of evidence, or the failure to preserve property for another’s

use as evidence in pending or reasonably foreseeable litigation.” West v. Good Year Tire & Rubber

Co., 167 F. 3d 776, 779 (2d Cir. 1999). In defamation cases, a defendant’s intentional destruction

of research documents may, itself, constitute evidence of actual malice. Brown & Williamson

Tobacco Corp., 827 F.2d at 1134.

        It is within the Court’s discretion to impose sanctions for spoliation of evidence and any

sanction imposed should be designed to 1) deter parties from engaging in spoliation; 2) place the

risk of an erroneous judgment on the party who wrongfully created the risk; and 3) restore the

prejudiced party to the same position she would have been absent the wrongful destruction of

evidence by the opposing party. West, 167 F. 3d at 779.

        A party may seek an adverse inference for spoliation at the summary judgment stage of an

action. Balestriere PLLC v. CMA Trading, Inc., 2014 WL 929813, at * 4 (S.D.N.Y. Mar. 7, 2014)

(discussing adverse inference for spoliation at summary judgment stage); Frank v. Lawrence v.

Union Free School Dist., 688 F. Supp. 2d 160, 168 (E.D.N.Y. 2010) (“At the summary judgment

stage, an ‘inference of spoliation, in combination with some (not insubstantial) evidence’ can allow

a plaintiff to survive summary judgment.’”) (citing Byrnie v. Town of Cromwell Bd. of Educ., 243

F.3d 93, 107 (2d Cir. 2001)). 1 The party seeking an adverse inference must establish: 1) that the

party had control over the evidence and had an obligation to preserve it at the time it was destroyed;

2) that the evidence was destroyed with a “culpable state of mind;” and 3) that the destroyed

evidence was relevant to the parties claim or defense such that the trier of fact could find that it


1
 As fully set forth in Plaintiff’s summary judgment opposition briefing, there is clear and convincing evidence of
actual malice in this case, on the part of all Defendants.

                                                        6
supported that claim or defense. Residential Funding Corp. v. DeGeorge Financial Corp., 306

F.3d 99, 107 (2d Cir. 2002).

       An obligation to preserve evidence arises when litigation has commenced or when a party

reasonably anticipates litigation. Hawley v. Mphasis Corp., 302 F.R.D. 37, 46 (S.D.N.Y. 2014).

See Ottoson v. SMBC Leasing & Finance, Inc., 268 F. Supp. 3d 570, 581 (S.D.N.Y. 2017);

Zubulake v. UBS Warburg, LLC, 220 F.R.D. 212, 217 (S.D.N.Y. 2003). Here, Ms. DuVernay had

an obligation to preserve evidence since June 2016 when Ms. Fairstein’s attorney notified Ms.

DuVernay of potential future litigation and her obligation to “take all steps necessary to retain and

preserve all records and communications, whether in hard-copy or electronic form, that have

already come into your possession relating to this project, and that come into your possession at

any point going forward.” ECF No. 182-74 (PX-52); DuVernay Decl. (ECF No. 149) ¶ 22. In turn,

in July 2016, Ms. DuVernay’s attorney reserved her rights and remedies against Ms. Fairstein (and

Elizabeth Lederer). ECF No. 155-82, at LF00038633. Ms. DuVernay was further reminded of her

obligation to preserve evidence in Plaintiff’s pre-suit notice. Compl., Ex. 2, 3/2/20 (ECF No. 1-3),

Ltr. from E. Cheffy and A. Miltenberg to A. DuVernay, at p. 9.

       Ms. DuVernay admits that she intentionally destroyed her books. The “culpable state of

mind” factor is “satisfied by a showing that the evidence was destroyed ‘knowingly, even if

without intent to [breach a duty to preserve it].’” Residential Funding Corp., 306 F.3d at 108 (citing

Byrnie, 253 F.3d at 109).

       A party’s intentional destruction of evidence is sufficient circumstantial evidence from

which a reasonable fact finder could conclude that the missing evidence was unfavorable to that

party. Residential Funding Corp., 306 F.3d at 109. See Balestriere PLLC, 2014 WL 929813, at *

4. Regardless, as noted above, Ms. DuVernay’s copies of the books she claims to have relied upon



                                                  7
when writing the Series are relevant to the issue of actual malice because they potentially contained

markings and notations which spoke to Ms. DuVernay’s state of mind with respect to her portrayal

of Ms. Fairstein in the Series. Celle v. Filipino Reporter Enters., 209 F.3d 163, 182-183 (2d Cir.

2000).

         In their response to Plaintiff’s pre-motion letter, (ECF No. 195), Defendants argue that Ms.

DuVernay’s books are not relevant because “Plaintiff did not cite a single note from Ms. Swicord’s

or Ms. Locke’s copies of these same books” in her opposition to their summary judgment motion.

Id. at p. 1. This misses the point. First, Ms. DuVernay’s intentional destruction of the books she

claims to have reviewed as part of her research for the Series deprived Plaintiff of the right to

inspect the books and determine whether there were any relevant notations or markings in them.

Second, Plaintiff is not required to prove that Ms. Swicord acted with actual malice because she is

not a named defendant in this action. Third, Ms. DuVernay has not claimed that she relied on Ms.

Swicord’s books during the time in which she was working on the Series. Fourth, whether Ms.

Locke made notations in her copy of any book is irrelevant to what may have been contained in

Ms. DuVernay’s books (assuming Ms. DuVernay actually had, and read, them in the first place).

         Humphreys v. New York City Health and Hospitals Corp., 2022 WL 614677, at *5

(S.D.N.Y. Mar. 2, 2022), which Defendants cite in their response to Plaintiff’s pre-motion letter,

(ECF No. 195), is readily distinguishable from the present case. In Humphreys, the defendant

produced copies of the documents in question but did not have the originals. The plaintiff also

produced copies of the documents that were in dispute. There was no evidence that the defendant

intentionally destroyed the documents. The court found that the copies of the documents in

question did not support her claims that the originals would have constituted evidence favorable

to the plaintiff. Id.



                                                  8
       Here, Ms. DuVernay allegedly had her own set of books that she purportedly relied upon

when researching and writing the Series, which were in her exclusive custody and control. She

admits that she destroyed them. Copies produced by other individuals (including Ms. Swicord) do

not reflect what may have been written, marked or tabbed in Ms. DuVernay’s books. As set forth

in Plaintiff’s opposition to Defendants’ summary judgment motion, the books contain a wealth of

information which contradicts Defendants’ portrayal of Ms. Fairstein in the Series. ECF No. 183,

Pltf. Opp. Br., at 15-16. How Ms. DuVernay marked, tabbed or made notations throughout a given

book, including on the pages containing contradictory information, is relevant to her state of mind

when conducting research for the Series.

       Assuming that the books are the only evidence in Ms. DuVernay’s possession that she

destroyed, it raises questions about her motivation in doing so. The selective destruction of

evidence relevant to the issue of actual malice can itself constitute actual malice. Brown &

Williamson Tobacco Corp., 827 F.2d at 1134.

II.    There Was No Undue Delay in Seeking Permission to File This Motion

       Defendants contend that Plaintiff should be denied the right to seek sanctions against Ms.

DuVernay for destroying her books because “Plaintiff had 60 days to respond to Defendants’

Motion for Summary Judgment.” ECF No. 195, at 1. Defendants ignore that—in Plaintiff’s

response to their summary judgment motion—Plaintiff addressed Ms. DuVernay’s spoliation of

evidence and expressly reserved the right to make this motion. ECF No. 184, at p. 37. As set forth

above, Plaintiff acted promptly in filing her pre-motion letter concerning this motion, filing the

request within only one week of the motion to strike and her response to Defendants’ sealing

motion, after being engaged with a succession of filing deadlines, including responding to

Defendants’ voluminous motion and Rule 56 Statement. See Relevant Factual Background, at



                                                9
Point I.

           Defendants can claim no prejudice as a result of any purported delay. They were aware of

Plaintiff’s objection to Ms. DuVernay’s spoliation of evidence as of November 30, 2022. ECF No.

184, at p. 37. Summary judgment briefing is ongoing. The Court, further, set a briefing schedule

around Defendants’ briefing of their summary judgment reply brief. Moreover, is its Ms.

DuVernay who prejudiced Plaintiff by failing to disclose that she destroyed her books in her

written discovery responses, the earliest of which were served on December 6, 2021. Gorycki

Decl., Exs. 1-3.

           Should the Court find that Plaintiff’s request for sanctions against Ms. DuVernay should

not be considered at the summary judgment stage due to any finding of delay in making said

request, Plaintiff respectfully submits that this would not preclude Plaintiff from making a similar

motion before trial. 2 See ECF No. 195, Defs. Pre-Motion Ltr., at 1 (“Plaintiff’s request should be

denied or at minimum not considered in connection with summary judgment.”).

                                               CONCLUSION

           For the reasons set forth above, Plaintiff respectfully requests that the Court (i) impose an

adverse inference against Ms. DuVernay that the books Ms. DuVernay destroyed contained

markings or notations which constituted evidence of actual malice; and (ii) find that Ms.

DuVernay’s selective destruction of her research materials constitutes evidence of actual malice,

along with such other and further relief as the Court deems just and proper.

Dated: New York, New York
       January 5, 2023

                                                             Respectfully Submitted,

                                                             By: /s/ Kara L. Gorycki

2
 Indeed, since Plaintiff’s present motion is addressed to Defendants’ summary judgment motion, Plaintiff should be
permitted to renew her request for an adverse inference when the case proceeds to trial.

                                                       10
            Kara L. Gorycki (KG 3519)
     Andrew T. Miltenberg (AM 7006)
     NESENOFF & MILTENBERG, LLP
     363 Seventh Avenue, 5th Floor
     New York, New York 10001
     Phone: (212) 736-4500
     kgorycki@nmllplaw.com
     amiltenberg@nmllplaw.com

     Attorneys for Plaintiff Linda Fairstein




11
                                CERTIFICATE OF SERVICE

       I hereby certify that on January 6, 2023, a true and correct copy of the foregoing was served

by CM/ECF on all counsel of record.

                                             /s/ Kara L. Gorycki
